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                                                                                                          February 28, 2023


Dear Customer,




The following is the proof-of-delivery for tracking number: 771020340315




Delivery Information:


Status:                        Delivered                                   Delivered To:

Signed for by:                 Signature release on file                   Delivery Location:           601 S BOULEVARD

Service type:                  FedEx Standard Overnight

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                                                                           Delivery date:                Jan 16, 2023 14:04

Shipping Information:


Tracking number:                       771020340315                        Ship Date:                       Jan 13, 2023

                                                                           Weight:                          2.0 LB/0.91 KG


Recipient:                                                                 Shipper:
Carol Jean LoCicero, Esq., Thomas & LoCicero                               Katie Stine,
601 South Boulevard                                                        100 South Ashley Drive Ste 600
TAMPA, FL, US, 33606                                                       Tampa, FL, US, 33602




Reference                                  NBC Reed




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